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                                 UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA

     NINGBO BONNY E-                               Case No. 2:24-cv-00568
      HOME CO., LTD.
                                               REQUEST FOR ENTRY OF
                                                    DEFAULT
            Plaintiff,
                v.

  ONDWAY STORE, and etal.
          Defendants.




                           REQUEST FOR ENTRY OF DEFAULT
       TO CLERK, FEDERAL DISTRICT COURT WESTERN DISTRICT OF
       PENNSYLVANIA


       Please enter the default of all of the Defendants except Defendant Motobuddy
       Store pursuant to Rule 55(a) of the Rules of Civil Procedure for failure to
       plead or otherwise defend this action as fully appears from the court file herein
       from and the attached Declaration of Attorney Patricia Ray.




       Dated: May 25, 2025                   By:__/s/ Patricia Ray_______________
                                             Attorney for Plaintiff


                                CERTIFICATE OF SERVICE
I hereby certify that all Defendants are being served on this date by email and
publication in accordance with Order No 7 of this Court.
Date: May 25, 2025                           _/s/ Patricia Ray________________
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